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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                             Case No. 3:20-cr-86-MMH-JBT

 JORGE PEREZ
 ______________________ /
 [OWNER OF RECORD: JORGE PEREZ & LIANSY C. CARBONELL, for a
 joint life estate, with a reminder to Christina Ada Perez and Elizabeth Estrella
 Perez, as joint tenants with the right of survivorship]

       GOVERNMENT'S SECOND RENEWAL NOTICE OF LIS PENDENS 1

       NOTICE IS HEREBY GIVEN that on October 7, 2020, the United States of

 America filed a Superseding Indictment in the United States District Court, Middle

 District of Florida, Jacksonville Division, between the parties named in the above

 referenced action. This action remains pending.

       The United States of America is seeking to forfeit the real property located at

 96000 Overseas Highway, Unit M-4, Key Largo, Monroe County, Florida 33037,

 including all improvements thereon and appurtenances thereto, being the same

 premises conveyed to Jorge Perez and Liansy C. Carbonell, for a joint life estate,

 with a remainder to Christina Ada Perez and Elizabeth Estrella Perez, as joint

 tenants with the right of survivorship, on March 31, 2017, by virtue of that Trustee’s



 1
  This notice renews the Government’s Notice of Lis Pendens (Doc. 125) recorded in the
 Official Records of Monroe County, Florida on July 9, 2020, Doc. No. 2272581, BK 3031,
 Page 183, and the Government’s Renewal Notice of Lis Pendens (Doc. 350) recorded in the
 Official Records of Monroe County, Florida on July 7, 2021, Doc. No. 2328938, BK 3110,
 Page 1901.
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 Deed recorded on April 6, 2017 in the public records of Monroe County, Florida,

 Doc. No. 2117724, Book 2847, Page 2143, the legal description for which is as

 follows:

              Unit No. M-4 of Buttonwood Bay No. 7, a Condominium, according to
              the Declaration of Condominium recorded in Official Records Book
              582, Page 803, and all exhibits and Amendments thereof, Public
              Records of Monroe County, Florida.

       The United States seeks forfeiture of the above referenced real property,

 pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), 18 U.S.C. § 982(a)(7) and

 18 U.S.C. § 982(a)(1).

       FURTHER NOTICE IS HEREBY GIVEN that the provisions of 21 U.S.C. §

 853(k) prohibit any claimant to the described property from: (1) intervening in the

 trial or appeal of the criminal case, or (2) commencing an action at law or equity

 against the United States concerning the validity of any alleged interest in the

 property, except as provided by the provisions of 21 U.S.C. § 853(n), following the

 entry of any order of forfeiture. Further information concerning this action may be

 obtained from the records of the Clerk of Court for the United States District Court,




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 Middle District of Florida, U.S. Federal Courthouse, 300 N. Hogan Street,

 Jacksonville, Florida 32202-4270.

                                                 Respectfully submitted,

                                                 ROGER B. HANDBERG
                                                 United States Attorney


                                           By:   s/Mai Tran
                                                 MAI TRAN
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                             CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2022, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system, which will send a notice of

 electronic filing to counsel of record.



                                                 s/Mai Tran
                                                 MAI TRAN
                                                 Assistant United States Attorney




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